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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


JEROME A. JOHNSON, RICHARD T              Civil Action No.:
WACKSMAN,MICHELE BOURGEAS, SHANTEL
DENISE DANIELS,PATRICIA DURHAM, CHARLES
D. EDWARDS JR., ROBIN ELLIOT-WILLIAMS,
MICHAEL LEE HORESMAN ANTHONY S.           JURY TRIAL DEMANDED
GORDON, ABDOULE M. JOBE, MATTHEW GLENN
MURRAY, JEFFREY NERIM, JAMES FRANK
SMITH, JAMES W. WILSON, CHRISTOPHER
AKERET, RICHARD ALOI, EDWIN BERMUDEZ JR.,
JAMES CHABOT, STEPHANIE COLLETTI, BOBBY
CORRENTE, DONNA DROHAN DOUGHERTY,
GAYLE FRANKS, BRADLEY FREEMAN, MARK P.
GENATEMPO, JEFFREY GILES, HOWARD HENRY,
STANLEY A. KARWOWSKI, WILLIAM LANCE,
PAUL LEONARDO, GIDEON LEWIS, WAYNE        COMPLAINT
LIPKO, JOHN T. LYONS, STEPHEN PAUL
MATTNER, KENNETH A. MOORE, TRACY L.
PACCONI, LAURIE PLACERES, DAVID PLAZA,
MARIO RANDAZZO, RICHARD SCHOLZ, VERNON
NATHANIEL SCOVENS, JR., GUNTER SIEMON,
JOHN STRETAVSKI JR., JAMES STYCZYNSKI,
CHARLES WAGNER, JOHN WATSON, RUT
STELLA AGUDELO, DAVID BURO, DEBORAH A.
CONTURSO, JOSEPH G. FAHEY, NICHOLAS D.
GIGLIO, JAY GROTENSTEIN, MICHAEL M.
HACKFORD, JASON D. HARMON, SHAUN H.
KIMBALL, GEORGE MARINI, JOHN
MARKIEWICZ, ROBERT PEREZ, NATALIE PIERRE,
THOMAS PRICE, ROBERT B. SCAFIDI, EDWARD
SPADONI, JOHN J. MAKIEWICZ, WILLIAM P.
SEIDLER, TERRANCE STEVENS, FRANCO TAIBII,
ROBERT L. ABREU, JOHN GIDES, JEROME A.
JOHNSON, RONALD J. KLINE, RICHARD J. KORN
JR., , BART F. MCMANUS, TODD MCSORLEY,
JAMES F. RIZZO, THOMAS L SONSON, KEITH
WETZLER, TIMOTHY M. VALDEZ

                            Plaintiffs,
                       v.

THE HOME DEPOT, INC.

                            Defendant.



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       Plaintiffs Jerome A. Johnson, Richard T Wacksman, Michele Bourgeas, Shantel Denise

Daniels, Patricia Durham, Charles D. Edwards Jr., Robin Elliot-Williams, Michael Lee

Horesman, Anthony S. Gordon, Abdoule M. Jobe, Matthew Glenn Murray, Jeffrey Nerim, James

Frank Smith, James W. Wilson, Christopher Akeret, Richard Aloi, Edwin Bermudez Jr., James

Chabot, Stephanie Colletti, Bobby Corrente, Donna Drohan Dougherty, Gayle Franks, Bradley

Freeman, Mark P. Genatempo, Jeffrey Giles, Howard Henry, Stanley A. Karwowski, William

Lance, Paul Leonardo, Gideon Lewis, Wayne Lipko, John T. Lyons, Stephen Paul Mattner,

Kenneth A. Moore, Tracy L. Pacconi, Laurie Placeres, David Plaza, Mario Randazzo, Richard

Scholz, Vernon Nathaniel Scovens, Jr., Gunter Siemon, John Stretavski Jr., James Styczynski,

Charles Wagner, John Watson, Rut Stella Agudelo, David Buro, Deborah A. Conturso, Joseph

G. Fahey, Nicholas D. Giglio, Jay Grotenstein, Michael M. Hackford, Jason D. Harmon, Shaun

H. Kimball, George Marini, John J. Makiewicz, Robert Perez, Natalie Pierre, Thomas Price,

Robert B. Scafidi, Edward Spadoni, William P. Seidler, Terrance Stevens, Franco Taibi, Robert

L. Abreu, John Gides, Jerome A. Johnson, Ronald J. Kline, Richard J. Korn Jr., Bart F.

Mcmanus, Todd McSorley, James F. Rizzo, Thomas L Sonson, Keith Wetzler, Timothy M.

Valdez (collectively the “Plaintiffs”), each bring a complaint against The Home Depot, Inc.

(“Home Depot” or “Defendant”), and allege as follows:

                                         INTRODUCTION

     1. Each Plaintiff originally opted into the case stylized Aquilino et al. v. The Home Depot,

Inc., 04-cv-4100, which is currently pending in the District Court of New Jersey before Judge

Sheridan. Aquilino asserts claims under the FLSA, 29 U.S.C. §201 et seq. By filing consents to

join the statute of limitations were tolled on Plaintiffs’ claims and have remained tolled by order

of this Court until June 15, 2011.

     2. On May 2, 2011, Judge Sheridan entered an Order dismissing without prejudice the opt in

plaintiffs in Aquilino further holding that the tolling of the statute of limitations of the opt-in

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plaintiffs’ claims conclude and such statute continue to run for each plaintiff for its unexpired

portion on June 15, 2011.

     3. Plaintiffs now bring this action pursuant to FLSA, 29 U.S.C. § 201 et seq. to remedy

Home Depot’s violations of the wage and hour provisions of the FLSA, which as deprived

Plaintiffs of lawful wages.

     4. Certain Plaintiffs also bring claims under applicable state wage and hour laws.

     5. Specifically, Plaintiffs seek to recover unpaid overtime compensation owed to them

pursuant to FLSA and applicable state laws for all hours worked over 40 hours. Each Plaintiff is

entitled to such overtime compensation for all hours worked over 40 hours per week for the time

period of at least three years prior to the time the Plaintiff consented to join Aquilino.

                                 JURISDICTION AND VENUE

      6.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

under section 216(b) of the FLSA, 29 U.S.C. § 216(b).

      7.        This Court also has supplemental jurisdiction over Plaintiffs’ state claims

pursuant to 28 U.S.C. § 1367(a) because the state law claims are so related to Plaintiffs’ federal

claims that they form a part of the same case or controversy between the parties.

      8.        Venue is proper in this District Court pursuant to 28 U.S.C. § 1391.

                                             PARTIES

Delaware Employed Plaintiffs

      9.        Plaintiff Jerome A. Johnson is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Johnson’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     10.        Plaintiff Richard T. Wacksman is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

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was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Wacksman’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

Maryland Employed Plaintiffs

     11.       Plaintiff Michele Bourgeas is a current employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Bourgeas’ primary

duties consisted of non-managerial tasks of manual labor and customer service.

     12.       Plaintiff Shantel Denise Daniels is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Daniels’ primary duties consisted of non-managerial tasks of manual labor and customer service.

     13.       Plaintiff Patricia Durham is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Durham’s, primary duties consisted of non-managerial tasks of manual labor and customer

service.

     14.       Plaintiff Charles D. Edwards Jr. is a former employee of Home Depot, who within

the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Edwards’

primary duties consisted of non-managerial tasks of manual labor and customer service.

     15.       Plaintiff Robin Elliot-Williams is a former employee of Home Depot, who within

the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Elliot-

Williams’ primary duties consisted of non-managerial tasks of manual labor and customer service

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     16.       Plaintiff Anthony S. Gordon is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Gordon’s,

primary duties consisted of non-managerial tasks of manual labor and customer service.

     17.       Plaintiff Michael Lee Horesman is a former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Horseman’s primary duties consisted of non-managerial tasks of manual labor and customer

service

     18.       Plaintiff Abdoule M. Jobe is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Jobe’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     19.       Plaintiff Matthew Glenn Murray is a former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Murray’s,

primary duties consisted of non-managerial tasks of manual labor and customer service.

     20.       Plaintiff Jeffrey Nerim is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Nerim’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     21.       Plaintiff James Frank Smith is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Smiths’ primary

duties consisted of non-managerial tasks of manual labor and customer service.

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     22.       Plaintiff James W. Wilson is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Wilson’s,

primary duties consisted of non-managerial tasks of manual labor and customer service.

New Jersey Employed Plaintiffs

     23.       Plaintiff Christopher Akeret is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Akeret’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     24.       Plaintiff Richard Aloi is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Aloi’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     25.       Plaintiff Edwin Bermudez Jr. is a former employee of Home Depot, who within

the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Bermudez’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     26.       Plaintiff James Chabot is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Chabot’s,

primary duties consisted of non-managerial tasks of manual labor and customer service.

     27.       Plaintiff Stephanie Colletti is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was



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unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Colletti’s,

primary duties consisted of non-managerial tasks of manual labor and customer service.

     28.       Plaintiff Bobby Corrente is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Corrente’s, primary duties consisted of non-managerial tasks of manual labor and customer

service.

     29.       Plaintiff Donna Drohan Dougherty is a former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Dougherty’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     30.       Plaintiff Gayle Franks is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Franks’

primary duties consisted of non-managerial tasks of manual labor and customer service.

     31.       Plaintiff Bradley Freeman is a current employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Freeman’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     32.       Plaintiff Mark P. Genatempo is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Genatempo’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

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     33.       Plaintiff Jeffrey Giles is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Giles’ primary duties

consisted of non-managerial tasks of manual labor and customer service.

     34.       Plaintiff Howard Henry is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Henry’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     35.       Plaintiff Stanley A. Karwowski is a current or former employee of Home Depot

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Karwowski’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     36.       Plaintiff William Lance is a current employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Lance’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     37.       Plaintiff Paul Leonardo is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Leonardo’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     38.       Plaintiff Gideon Lewis is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was



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unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Lewis’,

primary duties consisted of non-managerial tasks of manual labor and customer service.

     39.       Plaintiff Wayne Lipko is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Lipko’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     40.       Plaintiff John T. Lyons is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Lyons’

primary duties consisted of non-managerial tasks of manual labor and customer service.

     41.       Plaintiff Stephen Paul Mattner is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Mattner’s primary duties consisted of non-managerial tasks of manual labor and customer service.

     42.       Plaintiff Kenneth A. Moore is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Moore’s primary

duties consisted of non-managerial tasks of manual labor and customer service

     43.       Plaintiff Tracy L. Pacconi is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Pacconi’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     44.       Plaintiff Laurie Placeres is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully



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deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Placeres’ primary

duties consisted of non-managerial tasks of manual labor and customer service.

     45.       Plaintiff David Plaza is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Plaza’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     46.       Plaintiff Mario Randazzo is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Randazzo’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     47.       Plaintiff Richard Scholz is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Scholz’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     48.       Plaintiff Vernon Nathaniel Scovens, Jr. is a former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Scoven’s primary duties consisted of non-managerial tasks of manual labor and customer service.

     49.       Plaintiff Gunter Siemon is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Siemon’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     50.       Plaintiff John Stretavski, Jr. is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

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unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Stretavski’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     51.       Plaintiff James Styczynski is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Styczynski’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     52.       Plaintiff Charles Wagner is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Wagner’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     53.       Plaintiff John Watson is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Watson’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

New York Plaintiffs

     54.       Plaintiff Rut Stella Agudelo is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Agudelo’s, primary

duties consisted of non-managerial tasks of manual labor and customer service.

     55.       Plaintiff David C. Buro is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Buro’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

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     56.       Plaintiff Deborah A. Conturso is a former employee of Home Depot, who within

the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Conturso’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     57.       Plaintiff Joseph G. Fahey is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Fahey’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     58.       Plaintiff Nicholas D. Giglio is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Giglio’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     59.       Plaintiff Jay Grotenstein is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Grotenstein’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     60.       Plaintiff Michael M. Hackford is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Hackford’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     61.       Plaintiff Jason D. Harmon is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was



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unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Harmon’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     62.       Plaintiff Shaun H. Kimball is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Kimball’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     63.       Plaintiff George Marini is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Marini’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     64.       Plaintiff John J. Makiewicz is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Makiewicz’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     65.       Plaintiff Robert Perez is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Perez’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     66.       Plaintiff Natalie Pierre is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Pierre’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     67.       Plaintiff Thomas Price is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully



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deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Price’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     68.       Plaintiff Robert B. Scafidi is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Scafidi’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     69.       Plaintiff Edward Spadoni is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Spadoni’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     70.       Plaintiff William P. Seidler is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Seidler’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     71.       Plaintiff Terrance Stevens is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Stevens’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     72.       Plaintiff Franco Taibi is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Taibi’s primary

duties consisted of non-managerial tasks of manual labor and customer service

Pennsylvania Plaintiffs

     73.       Plaintiff Robert L. Abreu is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

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deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Abreu’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     74.       Plaintiff John Gides is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Gides’ primary

duties consisted of non-managerial tasks of manual labor and customer service.

     75.       Plaintiff Jerome A. Johnson is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Johnson’s, primary duties consisted of non-managerial tasks of manual labor and customer

service.

     76.       Plaintiff Ronald J. Kline is a former employee of Home Depot, who within the

applicable time period, routinely worked over 40 hours per week as a MASM and was unlawfully

deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Kline’s primary

duties consisted of non-managerial tasks of manual labor and customer service.

     77.       Plaintiff Richard J. Korn Jr. is a former employee of Home Depot, who within

the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Korn’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     78.       Plaintiff Bart F. McManus is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Mcmanus’ primary duties consisted of non-managerial tasks of manual labor and customer

service.



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     79.       Plaintiff Todd McSorley is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

McSorley’s primary duties consisted of non-managerial tasks of manual labor and customer

service.

     80.       Plaintiff James F. Rizzo is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Rizzo’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     81.       Plaintiff Thomas L Sonson is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Sonson’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     82.       Plaintiff Keith Wetzler is a current or former employee of Home Depot, who

within the applicable time period, routinely worked over 40 hours per week as a MASM and was

unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff Wetzler’s

primary duties consisted of non-managerial tasks of manual labor and customer service.

     83.       Plaintiff Timothy M. Valdez is a current or former employee of Home Depot,

who within the applicable time period, routinely worked over 40 hours per week as a MASM and

was unlawfully deprived of overtime compensation by Home Depot. As a MASM, Plaintiff

Valdez’s primary duties consisted of non-managerial tasks of manual labor and customer service.

Defendant Home Depot

     84.       Defendant Home Depot is a Delaware corporation with its principal executive

offices located at 2455 Pace Ferry Road, N.W., Atlanta, Georgia. Home Depot is the world’s

largest home improvement retailer and second largest retailer in the United States. It owns and

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operates nearly 1,800 retail stores throughout the United States including Delaware, Maryland,

New Jersey, New York, and Pennsylvania.

                  SUBSTANTIVE ALLEGATIONS FOR EACH PLAINTIFF

     85.        Defendant Home Depot, owns and operates approximately1,800 home

improvement retail stores located throughout the United States, including Delaware, Maryland,

New Jersey, New York, and Pennsylvania and employs tens of thousands of workers in these

stores, including Merchandizing Assistant Store Managers (“MASMs”).

    A. Plaintiffs’ Primary Duties were/are Non-Managerial

     86.        Home Depot stores generally have the following employees working in each

store: Store Manager(s), Assistant Store Managers, including MASMs, Department

Heads/Supervisors, and Sales Associates. Some Home Depot stores also have Human Resource

Managers that are involved in the stores hiring, firing and employee scheduling.

     87.        Department Heads/Supervisors are hourly associates who are paid at an hourly

rate and are entitled to overtime pay if they work over 40 hours per week.

     88.        Department Heads/Supervisors can and do perform and are expected to perform

many of the “managerial” type tasks that MASMs are expected to perform.

     89.        As MASMs, Plaintiffs were required to perform both managerial and non-

managerial duties, but Plaintiffs spent the majority of their time on their non-managerial duties.

Indeed, Home Depot expected Plaintiffs to prioritize their non-managerial duties over their

managerial duties.

     90.         Plaintiffs’ primary duties as MASMs were non-managerial tasks including such

tasks as packing and unpacking freight; setting product; cleaning bathrooms and the store; picking

up garbage and taking the garage out; pushing shopping carts and returning shopping carts from

the parking lot to inside the store; running registers; receiving trucks; building displays; cutting

wood; painting displays; fixing tools; labeling product in overhead; and loading customers’ cars

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(“tasking”). When Plaintiffs were not tasking and were on the floor, Plaintiffs spent the majority

of their time providing customer service.

     91.        As MASMs, Plaintiffs regularly and routinely worked in excess of 40 hours per

week.

     92.        One of the requirements of the MASM position was to work a minimum 55 hours

per week, which generally broke down into 5 day 11 hour work weeks. Plaintiffs frequently and

regularly worked beyond the minimum 55 hours per week.

     93.        By the conduct described in this Complaint, Home Depot has violated the Fair

Labor Standards Act ("FLSA") and applicable state laws by failing to pay Plaintiffs proper

overtime wages as required by law.

     94.        Under both federal and state wage laws they are each entitled to be paid for all

hours worked over 40 hours per week. While Plaintiffs were employed by Home Depot as

MASMs, Home Depot required that they work in excess of 40 hours per week without paying

them 1.5 times their regular rate of pay.

     95.        Home Depot had a pattern and practice of deliberately misclassifying Plaintiffs as

"exempt" employees for the purpose of federal and state overtime law in order to save money in

employee compensation.

    B. Home Depot’s Unlawful Conduct Was and Is Willful

     96.        Throughout the relevant time period, Home Depot’s policy was to deprive its

MASMs of earned overtime compensation. In order to avoid paying MASMs overtime

compensation for all hours that they worked in excess of 40 in a workweek, Home Depot

uniformly misclassified them as “executives,” exempt from federal and state overtime protections.

     97.        As part of its regular business practice, Defendants have intentionally, willfully

and repeatedly engaged in a pattern, practice and/or policy of violating the FLSA and state wage

and hours laws. This policy and pattern or practice includes but is not limited to:

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            a. Willfully failing to keep records of all the time that MASMs have worked for

                Defendant’s Benefit;

            b. Willfully failing to keep accurate payroll records as required by the FLSA and

                state wage and hour laws;

            c. Willfully misclassifying Plaintiffs as MASMs as exempt from the requirements of

                the FLSA; and

            d. Willfully failing to pay Plaintiffs as MASMs, overtime wages for all hours that

                they worked in excess of 40 hours per week.

     98.        Upon information and belief, Home Depot’s unlawful conduct described herein is

pursuant to a corporate policy or practice of minimizing labor costs by violating FLSA and state

wage and hour laws.

     99.        Upon information and belief, Home Depot was or should have been aware that

state and federal laws required it to pay overtime compensation for hours worked in excess of 40

per week to MASMs such as Plaintiffs who primarily perform non-exempt duties.

    100.        Upon information and belief, Home Depot was aware or should have been aware,

that as MASMs, these Plaintiffs (a) primarily performed non-exempt work such as manual labor

(“tasking”) and customer service; (b) wielded little or no discretion in the performance of their

duties; (c) spent very little time performing managerial type tasks; (d) and what little managerial

tasks they did have, could and were done by hourly associates.

    101.        Upon information and belief, despite Plaintiffs’ actual and expected job duties,

Home Depot uniformly designated and classified the MASM position, and therefore Plaintiffs as

“managerial” employees in order to attempt to justify classifying them as exempt from overtime

protections and avoid liability for overtime payments properly due to Plaintiffs.

    102.        Home Depot’s failure to pay Plaintiffs overtime wages for their work in excess of

40 hours per week was willful.

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                                    FIRST CAUSE OF ACTION
                           Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.
                                          By Each Plaintiff

    103.        Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs.

    104.        At all times relevant, Plaintiffs were engaged in commerce and/or the production

of goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

    105.        Home Depot was an employer engaged in commerce and/or the production of

goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

    106.        At all times relevant, Plaintiffs were or have been employees of Home Depot

within the meaning of 29 U.S.C. §§203(e) and 207(a).

    107.        Home Depot failed to pay Plaintiffs the overtime wages to which they are entitled

to under the FLSA.

    108.        Home Depot failed to keep accurate records of the time worked by each Plaintiff.

    109.        Home Depot’s violations of the FLSA, as described in this Complaint, have been

willful and intentional.

    110.        Home Depot failed to make a good faith effort to comply with the FLSA with

respect to Plaintiffs’ compensation.

    111.        Because Home Depot’s violations of the FLSA were willful, a three-year statute

of limitations applies, pursuant to 29 U.S.C. § 255.

    112.        As a result of Home Depot’s violations of the FLSA, Plaintiffs have suffered

damages by being denied overtime wages in accordance with the FLSA in amounts to be

determined at trial, and are entitled to recovery of such amounts, as well as liquidated damages,

pre-judgment interest, post-judgment interest, attorney’s fees, costs and other compensation

pursuant to 29 U.S.C. §§ 201 et seq.



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                             SECOND CAUSE OF ACTION
  New Jersey State Wage and Hour Law, N.J.S.A. §§ 34:11-56a et seq., and the supporting
                    regulations, N.J. Admin. Code §§ 12.45-1.1 et seq.
                         On behalf of the New Jersey Plaintiffs

    113.         Plaintiffs reallege and incorporate by reference all allegations in paragraphs 1-8,

23-53, 84-112.

    114.         Home Depot engaged in a widespread pattern, policy, practice of violating the

NJSWHL.

    115.         Home Depot’s violations of the NJSWHL, as described in this Complaint have

been willful and intentional.

    116.         At all times relevant, the New Jersey Plaintiffs were employees and Home Depot

was an employee within the meaning of the NJSWHL.

    117.         Home Depot employed the New Jersey Plaintiffs in New Jersey within the

meaning of the term “employ[s]” in the NJSWHL.

    118.         The New Jersey Plaintiffs are “person[s]” within the meaning of the term

“employ[s]” in the NJSWHL.

    119.         The New Jersey Plaintiffs were “employees” within the meaning of the term

“employee[s]” in the NJSWHL, including the definition of “employee” in NJWHL, N.J.S.A. §

34:11-4.1(b).

    120.         Home Depot employed the New Jersey Plaintiffs as an employer.

    121.         Home Depot was an employee within the meaning of the term “employer” in the

NJSWHL, including the definition of “employer” in NJSWHL, N.J.S.A. § 34:11-4.1(a).

    122.         The overtime wage provisions of Chapter 11, Article 2 of the NJSWHL, N.J.S.A.

§§ 34:11-56a et seq. and its supporting regulations, N.J. Admin. Code §§ 12:56-1.1 et seq., apply

to Home Depot and protect the New Jersey Plaintiffs.

    123.         Home Depot failed to pay the New Jersey Plaintiffs the overtime wages to which

they are entitled under Chapter 11, Article 2 of the NJSWHL. N.J.S.A. §§ 34:11-56A et seq.
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    124.         Home Depot failed to keep, make, preserve, maintain, and furnish accurate

records of time worked by the New Jersey Plaintiffs and failed to furnish each of them their wage

and hour records showing all wages earned and due for all work performed for labor or services

rendered.

    125.         By Home Depot’s knowing or intentional failure to pay the New Jersey Plaintiffs

overtime wages for hours worked in excess of 40 hours per week, it has willfully violated Chapter

11, Article 2 of the NJSWHL, N.J.S.A. §§ 34:11-56a et. seq.

    126.         Due to Home Depot’s violations of Chapter 11, Article 2 of the NJSWYL,

N.J.S.A.. §§ 34:11-56a et seq. the New Jersey Plaintiffs are entitled to recover from Defendant

their unpaid overtime wages, reasonable attorney’s fees and costs of the action, and pre-judgment

and post-judgment interest.

                           THIRD CAUSE OF ACTION
     New York Labor Law Article 19, §§ 650 et seq., and the supporting New York State
               Department of Labor Regulations, 12 N.Y.C.R.R. Part 142
                        On behalf of the New York Plaintiffs

    127.         Plaintiffs reallege and incorporate by reference all allegations in paragraphs 1-8,

54-72, 84-112.

    128.         Home Depot engaged in a widespread pattern, policy, and practice of violating the

NYLL.

    129.         At all times relevant the New York Plaintiffs were or are employees and Home

Depot has been an employee within the meaning of the NYLL. The New York Plaintiffs are

covered by the NYLL.

    130.         Home Depot employed the New York Plaintiffs as an employer.

    131.         Home Depot failed to pay the New York Plaintiffs overtime wages to which they

were entitled under NYLL Article 19, §§ 650 et seq., and the supporting New York State

Department of Labor Regulations, including but not limited to the regulations in 12 N.Y.C.R.R.

Part 142. Home Depot failed to pay Plaintiffs for overtime at a wage rate of one and one-half
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times their regular rate of pay. Home Depot failed to pay Plaintiffs overtime at wage rate of one

and one-half times the basic minimum hourly rate.

    132.         Home Depot failed to keep, make, preserve, maintain, and furnish accurate

records of time worked by the New York Plaintiffs.

    133.         Home Depot’s violations of the NYLL, as described in this Complaint have been

willful and intentional.

    134.         Due to Home Depot’s violations of the NYLL, the New York Plaintiffs are

entitled to recover from Defendant their unpaid overtime wages, liquidated damages, reasonable

attorney’s fees and costs of the action, and pre-judgment and post-judgment interest.

                             FOURTH CAUSE OF ACTION
 Maryland Wage and Hour Law §§ 3-401 et seq. and the Supporting Maryland Department
 of Labor, Licensing and Regulation Regulations, Md. Code. Regs. 09.12.41 et seq. on behalf
                                of the Maryland Plaintiffs

    135.         Plaintiffs reallege and incorporate by reference all allegations in paragraphs 1-8,

11-22, 84-112.

    136.         Home Depot engaged in a widespread pattern, policy, practice of violating the

MWHL.

    137.         Home Depot’s violations of the MWHL as described in this Complaint have been

willful and intentional.

    138.         At all times relevant, the Maryland Plaintiffs were employees and Home Depot

was an employee within the meaning of the MWHL.

    139.         Home Depot employed the Maryland Plaintiffs as an employer.

    140.         Home Depot was an employer within the meaning of the term “employer” in the

MHWL including the definition of “employer” in MHWL.

    141.         The overtime wage provisions of MHWL and its supporting regulations, Md.

Code Regs., 9.14.41 et seq. apply to Home Depot and protect the Maryland Plaintiffs.


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    142.         Home Depot failed to pay the Maryland Plaintiffs the overtime wages to which

they are entitled under MHWL.

    143.         Home Depot failed to keep, make, preserve, maintain, and furnish accurate

records of time worked by the Maryland Plaintiffs and failed to furnish each of them their wage

and hour records showing all wages earned and due for all work performed for labor or services

rendered.

    144.         By Home Depot’s knowing or intentional failure to pay the Maryland Plaintiffs

overtime wages for hours worked in excess of 40 hours per week, it has willfully violated

MHWL.

    145.         Due to Home Depot’s violations of MHWL and Maryland Plaintiffs are entitled to

recover from Defendant their unpaid overtime wages, reasonable attorney’s fees and costs of the

action, and pre-judgment and post-judgment interest.

                                FIFTH CAUSE OF ACTION
           Pennsylvania Minimum Wage Act of 1968, 43 Pa. Stat. §§ 333.101 et seq. and
                 Wage Payment and Collection Law, 43 Pa. Stat. §§ 250.1 et seq.
                            On behalf of the Pennsylvania Plaintiffs

    146.         Plaintiffs reallege and incorporate by reference all allegations in paragraphs 1-8,

73-84, 84-112.

    147.         Home Depot has engaged in a widespread pattern, policy, and practice of

violating the Pennsylvania Wage Laws, as detailed in this Complaint.

    148.         The foregoing conduct, as alleged, violated Pennsylvania Minimum Wage Act of

1968, 43 Pa. Stat. §§ 333.103 et seq. and Wage Payment and Collection Law, 43 Pa. Stat. §§

260.1 et seq. (collectively “Pennsylvania Wage Laws”).

    149.         At all relevant times, Home Depot has been, and continue to be, “employer[s]”

within the meaning of the Pennsylvania Wage Laws. At all relevant times, Home Depot has

employed, and/or continues to employ, “employee[s],” including the Pennsylvania Plaintiffs

within the meaning of the Pennsylvania Wage Laws.
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    150.          Pennsylvania Wage Laws require an employer, such as Home Depot to

compensate all non-exempt employees for all hours worked. The Pennsylvania Plaintiffs are non-

exempt employees entitled to be paid overtime compensation for all overtime hours worked.

    151.          At all relevant times, Home Depot had a policy and practice of failing and

refusing to pay overtime pay and other wages to the Pennsylvania Plaintiffs for their hours

worked, including hours in excess of 40 hours per week.

    152.          As a result of Home Depot’s failure to pay wages earned and due, and its decision

to withhold wages earned and due, to the Pennsylvania Plaintiffs at a rate not less than one and

one-half times the regular rate of pay for work performed in excess of 40 hours in a workweek,

Home Depot has violated, and continues to violate, the Pennsylvania Wage Laws, including 43

Pa. Stat. § 333.104(c).

    153.          As a result of Home Depot’s failure to record, report, credit, and furnish to each

of the Pennsylvania Plaintiffs their respective wage and hour records showing all wages earned

and due for all work performed, Home Depot has failed to make, keep, preserve, and furnish such

records, in violation of 43 Pa. Stat. § 33.108.

    154.          The Pennsylvania Plaintiffs seek recovery of attorney’s fees, costs, and expenses

of this action to be paid by Home Depot as provided by 43 Pa. Stat. § 333.113.

    155.          The Pennsylvania Plaintiffs seek damages in the amount of twice the respective

unpaid wages earned and due at a rate not less than one and one-half times the regular rate of

work performed in excess of 40 hours in a workweek, violating the Pennsylvania Wage Laws, and

such other legal and equitable relief from Home Depot’s unlawful and willful conduct as the

Court deems just and proper.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:



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                 A.     Award each Plaintiff unpaid wages due under the FLSA calculated at a

rate of one-and-one half times his or her regular rate of pay;

                 B.     An additional amount and equal award to each Plaintiff as liquidated

damages under FLSA;

                 C.     Award each Plaintiff punitive damages, liquidated damages and/or other

statutory penalties where available under state law;

                 D.     Award each Plaintiff pre-judgment and post-judgment interest as provided

by law;

                 E.     Award each Plaintiff the costs of this suit together with reasonable

attorneys’ fees, and such other and further relief as this Court deems necessary and proper.

                               DEMAND FOR TRIAL BY JURY

          PLEASE TAKE NOTICE that Plaintiffs demand trial by jury as to all issues in the above

matter.

Dated: June 14, 2011

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